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                                                      U.S. Department of Justice

                                                               United States Attorney
                                                               Southern District of New York
                                                               The Silvio J. Mollo Building
                                                               One Saint Andrew’s Plaza
                                                               New York, New York 10007


                                                                September 26, 2022


           BY ECF AND EMAIL

           The Honorable Laura Taylor Swain               MEMO ENDORSED
           United States District Judge
           Southern District of New York
           500 Pearl Street
           New York, New York 10007

                   Re:     United States v. Hassan Carter, 22 Cr. 271 (LTS)

           Dear Judge Swain:

                   The Government writes, with the consent of defense counsel, to respectfully request that
           the Court adjourn the change of plea hearing scheduled for September 29, 2022 at 11:30 a.m. to
           the following week. The parties are available at any time on October 4, 2022 or October 5, 2022
           between 12 p.m. and 4 p.m., if any of those dates and times are convenient for the Court.

                  The Government respectfully requests that the Court exclude time pursuant to the Speedy
           Trial Act until the new date for the change of plea hearing, so that the parties can continue to
           discuss the disposition of the case and to allow defense counsel to prepare for the change of plea
           hearing. The defendant, through defense counsel, has no objection to this request.

The foregoing request for an adjournment is
granted. The change of plea hearing is hereby
rescheduled for October 5, 2022, at 12pm. The             Respectfully submitted,
Court finds pursuant to 18 USC section 3161(h)(7)
(A) that the ends of justice served by an exclusion       DAMIAN WILLIAMS
of the time from speedy trial computations from           United States Attorney
today’s date through October 5, 2022, outweigh the
best interests of the public and the defendant in a By:
speedy trial to permit the parties to continue to         Dina McLeod
engage in discussions regarding pretrial disposition.     Assistant United States Attorney
DE#18 is resolved. SO ORDERED. /s/ Laura                  (212) 637-1040
Taylor Swain, Chief USDJ, 9/26/2022
           cc: Amy Gallichio, Esq. (counsel for Hassan Carter) (by email and ECF)
